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          EXHIBIT C
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                                                U.S. District Court
                                     District of Columbia (Washington, DC)
                                CIVIL DOCKET FOR CASE #: 1:12-cv-01292-RCL


 GOLDBERG-BOTVIN et al v. ISLAMIC REPUBLIC OF IRAN                                   Date Filed: 08/03/2012
 Assigned to: Chief Judge Royce C. Lamberth                                          Date Terminated: 04/04/2013
 Demand: $100,000,000,000                                                            Jury Demand: None
 Case: 1:21-cv-03186-RCL                                                             Nature of Suit: 360 P.I.: Other
 Cause: 28:1605A Foreign Sovereign Immunities Act                                    Jurisdiction: Federal Question

 Plaintiff
 JULIE GOLDBERG-BOTVIN                                                   represented by Noel Jason Nudelman
                                                                                        HEIDEMAN NUDELMAN & KALIK, PC
                                                                                        5335 Wisconsin Avenue, NW
                                                                                        Suite 440
                                                                                        Washington, DC 20015
                                                                                        202-463-1818
                                                                                        Fax: 202-463-2999
                                                                                        Email: njnudelman@hnklaw.com
                                                                                        ATTORNEY TO BE NOTICED

                                                                                     Tracy Reichman Kalik
                                                                                     HEIDEMAN NUDELMAN & KALIK, PC
                                                                                     5335 Wisconsin Avene
                                                                                     Suite 440
                                                                                     Washington, DC 20015
                                                                                     202-463-1818
                                                                                     Fax: 202-463-2999
                                                                                     Email: trkalik@hnklaw.com
                                                                                     ATTORNEY TO BE NOTICED

                                                                                     Richard D. Heideman
                                                                                     HEIDEMAN NUDELMAN & KALIK, PC
                                                                                     5335 Wisconsin Avenue, NW
                                                                                     Suite 440
                                                                                     Washington, DC 20015
                                                                                     202-463-1818
                                                                                     Fax: 202-463-2999
                                                                                     Email: rdheideman@hnklaw.com
                                                                                     ATTORNEY TO BE NOTICED

 Plaintiff
 RUSSELL ELLIS                                                           represented by Noel Jason Nudelman
 Estate of Yael Botvin                                                                  (See above for address)
                                                                                        ATTORNEY TO BE NOTICED

                                                                                     Tracy Reichman Kalik
                                                                                     (See above for address)
                                                                                     ATTORNEY TO BE NOTICED

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                                                                                       Richard D. Heideman
                                                                                       (See above for address)
                                                                                       ATTORNEY TO BE NOTICED
 Plaintiff
 TAMAR BOTVIN-DAGAN                                                      represented by Noel Jason Nudelman
                                                                                        (See above for address)
                                                                                        ATTORNEY TO BE NOTICED

                                                                                       Tracy Reichman Kalik
                                                                                       (See above for address)
                                                                                       ATTORNEY TO BE NOTICED

                                                                                       Richard D. Heideman
                                                                                       (See above for address)
                                                                                       ATTORNEY TO BE NOTICED
 Plaintiff
 MICHAL BOTVIN                                                           represented by Noel Jason Nudelman
                                                                                        (See above for address)
                                                                                        ATTORNEY TO BE NOTICED

                                                                                       Tracy Reichman Kalik
                                                                                       (See above for address)
                                                                                       ATTORNEY TO BE NOTICED

                                                                                       Richard D. Heideman
                                                                                       (See above for address)
                                                                                       ATTORNEY TO BE NOTICED


 V.
 2255
 UNITED STATES DEPARTMENT OF                                             represented by Timothy Andrew Johnson
 THE TREASURY, OFFICE OF                                                                U.S. DEPARTMENT OF JUSTICE
 FOREIGN ASSETS CONTROL                                                                 Civil Division, Federal Programs Branch
                                                                                        20 Massachusetts Avenue, NW
                                                                                        Washington, DC 20530
                                                                                        (202) 514-1359
                                                                                        Fax: (202) 616-8470
                                                                                        Email: timothy.johnson4@usdoj.gov
                                                                                        LEAD ATTORNEY
                                                                                        ATTORNEY TO BE NOTICED
 Defendant
 ISLAMIC REPUBLIC OF IRAN


  Date Filed            #    Docket Text
  08/03/2012             1 COMPLAINT against ISLAMIC REPUBLIC OF IRAN ( Filing fee $ 350 receipt number
                           0090-3026288) filed by JULIE GOLDBERG-BOTVIN, MICHAL BOTVIN, TAMAR
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                                                                  Columbia live 02/11/22
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                           BOTVIN-DAGAN, RUSSELL ELLIS. (Attachments: # 1 Civil Cover Sheet, # 2
                           Summons)(Heideman, Richard) (Entered: 08/03/2012)
  08/03/2012             2 NOTICE OF RELATED CASE by All Plaintiffs. Case related to Case No. 05-cv-220-
                           RCL. (Heideman, Richard) (Entered: 08/03/2012)
  08/03/2012             3 NOTICE of Appearance by Tracy Reichman Kalik on behalf of All Plaintiffs (Kalik,
                           Tracy) (Entered: 08/03/2012)
  08/03/2012             4 NOTICE of Appearance by Noel Jason Nudelman on behalf of All Plaintiffs (Nudelman,
                           Noel) (Entered: 08/03/2012)
  08/03/2012                 Case Assigned to Chief Judge Royce C. Lamberth. (sth, ) (Entered: 08/03/2012)
  08/03/2012             5 Electronic Summons (1) Issued as to ISLAMIC REPUBLIC OF IRAN. (Attachments: # 1
                           Summons)(sth, ) (Entered: 08/03/2012)
  09/25/2012             6 AFFIDAVIT REQUESTING FOREIGN MAILING pursuant to 28 USC 1608(a)(4) by
                           MICHAL BOTVIN, TAMAR BOTVIN-DAGAN, RUSSELL ELLIS, JULIE
                           GOLDBERG-BOTVIN. (Kalik, Tracy) (Entered: 09/25/2012)
  09/25/2012             7 REQUEST from MICHAL BOTVIN, TAMAR BOTVIN-DAGAN, RUSSELL ELLIS,
                           JULIE GOLDBERG-BOTVIN for the Clerk to effect service of two copies of the
                           summons, complaint, and notice of suit, together with a translation of each into the official
                           language of the foreign state, by certified mail, return receipt requested, to the U. S.
                           Department of State, Director of Overseas Citizens Services, pursuant to 28 U.S.C.
                           1608(a)(4). (See docket entry 6 to view document)(rdj) (Entered: 09/28/2012)
  09/28/2012             8 CERTIFICATE OF CLERK of mailing two copies of the summons, NOTICE OF
                           RELATED CASE, complaint, and notice of suit, together with a translation of each into
                           the official language of the foreign state on 9/28/2012, by certified mail, return receipt
                           requested, to the U. S. Department of State, William Fritzlen, Office of Policy Review and
                           Interagency Liaison Overseas Citizens Services, 2201 C Street, NW, 4th Floor,
                           Washington, DC 20520, pursuant to 28 U.S.C. 1608(a)(4). (Attachments: # 1 Exhibit) (rdj)
                           (Entered: 09/28/2012)
  10/05/2012             9 NOTICE of return receipt re 8 Certificate of Clerk - 28USC1608(a)(4) (rdj) (Entered:
                           10/10/2012)
  12/20/2012           10 RETURN OF SERVICE/AFFIDAVIT of Summons and Complaint Executed by the U.S.
                          Department of State under diplomatic notes, numbers 1081-IE and 1062-IE dated and
                          delivered on November 7, 2012 as to ISLAMIC REPUBLIC OF IRAN served on
                          11/7/2012, answer due 1/6/2013. (Attachments: # 1 Diplomatic Notes *Originals mailed to
                          Plaintiff's Counsel*)(rdj) (Entered: 12/26/2012)
  01/18/2013           11 AFFIDAVIT FOR DEFAULT by MICHAL BOTVIN, TAMAR BOTVIN-DAGAN,
                          RUSSELL ELLIS, JULIE GOLDBERG-BOTVIN. (Kalik, Tracy) (Entered: 01/18/2013)
  01/22/2013           12 Clerk's ENTRY OF DEFAULT as to ISLAMIC REPUBLIC OF IRAN (rdj) (Entered:
                          01/22/2013)
  03/19/2013           13 MOTION for Default Judgment as to Defendant Iran and to Take Judicial Notice of This
                          Court's July 3, 2012 Findings of Fact and Conclusions of Law in Related Case by
                          MICHAL BOTVIN, TAMAR BOTVIN-DAGAN, RUSSELL ELLIS, JULIE
                          GOLDBERG-BOTVIN (Attachments: # 1 Exhibit A, # 2 Exhibit B, # 3 Exhibit C, # 4
                          Exhibit D, # 5 Exhibit E, # 6 Text of Proposed Order)(Kalik, Tracy). Added MOTION To
                          TAKE JUDICIAL NOTICE on 3/20/2013 (rdj). (Entered: 03/19/2013)
  04/04/2013           14 ORDER granting 13 Motion for Default Judgment. Signed by Chief Judge Royce C.

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                           Lamberth on April 4, 2013. (lcrcl5) (Entered: 04/04/2013)
  04/04/2013           15 MEMORANDUM OPINION granting plaintiffs' motion for default judgment 13 . Signed
                          by Chief Judge Royce C. Lamberth on April 4, 2013. (lcrcl5) (Entered: 04/04/2013)
  08/06/2013           16 AFFIDAVIT REQUESTING FOREIGN MAILING pursuant to 28 USC 1608(a)(4) by
                          MICHAL BOTVIN, TAMAR BOTVIN-DAGAN, RUSSELL ELLIS, JULIE
                          GOLDBERG-BOTVIN. (Nudelman, Noel) (Entered: 08/06/2013)
  08/06/2013           17 REQUEST from MICHAL BOTVIN, TAMAR BOTVIN-DAGAN, RUSSELL ELLIS,
                          JULIE GOLDBERG-BOTVIN for the Clerk to effect service of two copies of the 14
                          Order, 15 Memorandum Opinion, and notice of Judgment, together with a translation of
                          each into the official language of the foreign state, by certified mail, return receipt
                          requested, to the U. S. Department of State, Director of Overseas Citizens Services,
                          pursuant to 28 U.S.C. 1608(a)(4). (See docket entry 16 to view document)(rdj) (Entered:
                          08/07/2013)
  08/07/2013           18 CERTIFICATE OF CLERK of mailing two copies of the 14 Order, 15 Memorandum
                          Opinion, and notice of Judgment, together with a translation of each into the official
                          language of the foreign state on 8/7/2013, by certified mail, return receipt requested, to the
                          U. S. Department of State, Office of Policy Review and Interagency Liaison Overseas
                          Citizens Services, 2201 C Street, NW, SA 29, 4th Floor, Washington, DC 20520, pursuant
                          to 28 U.S.C. 1608(a)(4). (Attachments: # 1 Exhibit) (rdj) (Entered: 08/07/2013)
  08/16/2013           19 NOTICE of Return Receipt of mailing to the U. S. Department of State re 18 Certificate of
                          Clerk - 28USC1608(a)(4) (rdj) (Entered: 08/19/2013)
  10/15/2013           20 AFFIDAVIT OF SERVICE by U.S. Department of State upon defendant under diplomatic
                          note, number 1084-IE dated and delivered on September 4, 2013 re 14 Order on Motion
                          for Default Judgment, 15 Memorandum & Opinion by ISLAMIC REPUBLIC OF IRAN.
                          (Attachments: # 1 Diplomatic Notes *Originals mailed to Plaintiff's Counsel*)(rdj)
                          (Entered: 10/17/2013)
  11/22/2013           21 MOTION for Order Under 28 USC 1610(c) Authorizing Enforcement of Judgement and
                          Memorandum in Support Thereof by MICHAL BOTVIN, TAMAR BOTVIN-DAGAN,
                          RUSSELL ELLIS, JULIE GOLDBERG-BOTVIN (Attachments: # 1 Exhibit A, # 2 Text
                          of Proposed Order)(Heideman, Richard) (Entered: 11/22/2013)
  11/25/2013           22 MEMORANDUM AND ORDER granting 21 Motion for Order with respect to the Islamic
                          Republic of Iran. Signed by Judge Royce C. Lamberth on November 25, 2013. (lcrcl5)
                          (Entered: 11/25/2013)
  05/16/2014           23 NOTICE of Praecipe Adopting Protective Order by MICHAL BOTVIN, TAMAR
                          BOTVIN-DAGAN, RUSSELL ELLIS, JULIE GOLDBERG-BOTVIN (Attachments: # 1
                          Exhibit A)(Kalik, Tracy) (Entered: 05/16/2014)
  12/22/2016           24 Unopposed MOTION for Protective Order by OFFICE OF FOREIGN ASSETS
                          CONTROL OF THE UNITED STATES DEPARTMENT OF THE TREASURY
                          (Attachments: # 1 Text of Proposed Order, # 2 Exhibit A)(Johnson, Timothy) (Entered:
                          12/22/2016)
  12/29/2016           25 ORDER granting 24 Motion for Protective Order. Signed by Judge Royce C. Lamberth on
                          12/28/16. (Attachment: Notice to Counsel/Party Acknowledgment of Protective Order)
                          (zlsj) (Entered: 12/29/2016)
  02/07/2018           26 Unopposed MOTION for Protective Order by UNITED STATES DEPARTMENT OF
                          THE TREASURY, OFFICE OF FOREIGN ASSETS CONTROL (Attachments: # 1 Text
                          of Proposed Order, # 2 Exhibit Affidavit by Plaintiffs' Attorney with Subpoena)(Johnson,
                          Timothy) (Entered: 02/07/2018)
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  02/28/2018           27 ORDER granting 26 Motion for Protective Order. Signed by Judge Royce C. Lamberth on
                          2/27/18. (lsj) (Entered: 02/28/2018)
  12/06/2021           28 WITHDRAWN PURSUANT TO ORDER FILED 12/23/2021..... MOTION to Deposit
                          Funds by MICHAL BOTVIN, TAMAR BOTVIN-DAGAN, JULIE GOLDBERG-
                          BOTVIN. (Attachments: # 1 Text of Proposed Order)(Kalik, Tracy) Modified on
                          12/28/2021 (znmw). (Entered: 12/06/2021)
  12/09/2021           29 VACATED PURSUANT TO ORDER FILED 12/23/2021.....ORDER granting 28 Motion
                          to Deposit Funds. Signed by Judge Royce C. Lamberth on 12/08/2021. (lcrcl1) Modified
                          on 12/28/2021 (znmw). (Entered: 12/09/2021)
  12/22/2021           30 MOTION to Withdraw 28 Motion to Deposit Funds by MICHAL BOTVIN, TAMAR
                          BOTVIN-DAGAN, JULIE GOLDBERG-BOTVIN. (Attachments: # 1 Text of Proposed
                          Order)(Kalik, Tracy). Added MOTION to Vacate on 12/28/2021 (znmw). Modified on
                          12/28/2021 (znmw). (Entered: 12/22/2021)
  12/23/2021           31 ORDER granting 30 Motion to Vacate and vacating 29 Order on Motion to Deposit Funds.
                          Signed by Judge Royce C. Lamberth on 12/23/2021. (lcrcl1) (Entered: 12/23/2021)




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